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 1 DANIELS, FINE, ISRAEL, SCHONBUCH & LEBOVITS LLP
   PAUL R. FINE (53514)
 2 fine@dfis-law.com
   1801 Century Park East, 9th Floor
 3 Los Angeles, CA 90067-2302
   Telephone: (310) 556-7900
 4 Facsimile: (310) 556-2807
 5 SCHULTE ROTH & ZABEL LLP
   WILLIAM H. GUSSMAN, JR. (Admitted Pro Hac Vice)
 6 william.gussman@srz.com
   MARK L. GARIBYAN (Admitted Pro Hac Vice)
 7 mark.garibyan@srz.com
   919 Third Avenue
 8 New York, NY 10022

                                                              JS-6
   Telephone: (212) 756-2000
 9 Facsimile: (212) 593-5955
10 Attorneys for Plaintiff DSAM + Master Fund
11 COOLEY LLP
   ANGELA L. DUNNING (212047)
12 adunning@cooley.com
   ALEXANDER GALICKI (308737)
13 agalicki@cooley.com
   3175 Hanover Street
14 Palo Alto, CA 94304
   Telephone: (650) 843-5000
15 Facsimile: (650) 843-7400
16 Attorneys for Plaintiff Bailey Venture Partners XXI, LLC
17
                          UNITED STATES DISTRICT COURT
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                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     BAILEY VENTURE PARTNERS                  Case No. 2:20-cv-10436-RGK-JPR
20   XXI, LLC, and DSAM + MASTER
     FUND,                                    The Hon. R. Gary Klausner
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                    Plaintiffs,               [PROPOSED] ORDER OF
22       v.                                   DISMISSAL PURSUANT TO THE
                                              STIPULATION OF THE
23   RICHARD MUMBY,                           PARTIES [FRCP 41(a)(1)(A)(ii)]
24                  Defendant.
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                                                        ORDER OF DISMISSAL [FRCP 41(a)(1)(A)(ii)]
                                                                                 2:20-CV-10436
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1                          [PROPOSED] ORDER OF DISMISSAL
2           Pursuant to the stipulation of the parties under Federal Rule of Civil Procedure
3    41(a)(1)(A)(ii), IT IS ORDERED THAT THIS ACTION BE, AND IS HEREBY
4    DISMISSED WITH PREJUDICE as to all parties, claims, and causes of action
5    remaining in the case. For the sake of clarity, the Court previously dismissed as
6    “unripe” Plaintiffs’ claim for declaratory relief relating to “future distribution[s]” that
7    have yet to occur (Dkt. No. 37 at 7), and the parties have expressly reserved all claims,
8    rights and defenses in regard to any future distributions.
9           Each party will bear its own attorney’s fees and costs. The Clerk is directed to
10   close the file.
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12    Dated: October 29, 2021                By:_____________________________
13                                           HON. R. GARY KLAUSNER
                                             UNITED STATES DISTRICT JUDGE
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                                                         ORDER OF DISMISSAL [FRCP 41(a)(1)(A)(ii)]
                                                                                  2:20-CV-10436
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